       Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 1 of 17 Page ID #:1



 1   Michael P. West, Esq. (SBN 172478)
 2
     Ashley A. Escudero, Esq. (SBN 250473)
     CLARK HILL LLP
 3   600 West Broadway, Suite 500
 4   San Diego, California 92101
     Telephone: (619) 557-0404
 5   Facsimile: (619) 557-0460
 6   mwest@clarkhill.com
     aescudero@clarkhill.com
 7

 8   Attorneys for Defendants,
     Welltower OpCo Group LLC and
 9   Sunrise Senior Living Management, Inc.
10
                                    UNITED STATES DISTRICT COURT
11

12            CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION

13

14    GILBERT GARCIA, by and through
      his Successor in Interest, Paul Garcia;
15    PAUL GARCIA individually;
16    RONALD GARCIA, individually;
      GARY GARCIA, individually,
17                                                  Case No.
18           Plaintiffs,
                                                    NOTICE OF REMOVAL OF CIVIL
19                                                  ACTION
      v.
20    WELLTOWER OPCO GROUP LLC
                                                    [Re: Orange County Superior Court
      dba SUNRISE VILLA BRADFORD;
21                                                  Case No. 30-20-01167237-CU-PO-CJC]
      SUNRISE SENIOR LIVING
22    MANAGEMENT, INC.; and DOES 1
      through 100,
23

24           Defendants.
25

26          COME NOW, Defendants SUNRISE SENIOR LIVING MANAGEMENT, INC.,
27
     and WELLTOWER OPCO GROUP, LLC, by and through their undersigned counsel,
28
                                          1
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
       Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 2 of 17 Page ID #:2



 1   hereby remove this action from the Superior Court of the State of California, County of
 2
     Orange, to the United States District Court for the Central District of California,
 3

 4   Southern Division, reserving all defenses and reserving all objections to venue based

 5   on 42 U.S.C.A. § 247d-6d(e)(1), pursuant to 28 U.S.C.A. §§ 1441 and 1446, on the
 6
     following grounds:
 7

 8                                      I.     STATEMENT OF THE CASE

 9           1. This action was filed in the Superior Court of the County of Orange,
10
     California as Case No. 30-2020-01167237-CU-PO-CJC on October 26, 2020. (Exhibit
11

12   A, Summons and Complaint).

13           2. Defendant Sunrise Senior Living Management, Inc. was served with the
14
     Summons and Complaint on October 29, 2020. Defendant Welltower Opco Group,
15

16   LLC was served with the Summons on October 30, 2020. Accordingly, this Notice of
17   Removal is timely. See 28 U.S.C.A. § 1446(b).
18
             3. The Complaint asserts causes of action for alleged elder abuse and neglect,
19

20   wrongful death, and intentional infliction of emotional distress resulting from alleged
21   misconduct by a covered person in the administration of a covered countermeasure
22
     under the Public Readiness and Emergency Preparedness Act (“PREP Act”), 42
23

24   U.S.C.A. §§ 247d-6d(d), 247d-6e (West 2020).
25           4. More specifically, Plaintiffs claim that Defendants engaged in negligent,
26
     willful and/or reckless conduct in the care rendered to the decedent in relation to
27

28
                                          2
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
       Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 3 of 17 Page ID #:3



 1   exposure, diagnosis, and treatment of COVID-19 and in the distribution, administration,
 2
     or use of medical countermeasures, like COVID-19 testing and personal protective
 3

 4   equipment, to prevent the spread of COVID-19 within the residential care facility for

 5   the elderly known as Sunrise Villa Bradford, where the decedent resided.
 6
             5. The Complaint seeks damages including compensation for pre-death pain and
 7

 8   suffering pursuant to Welfare and Institutions Code section 15657, general damages,

 9   special damages, attorney’s fees, punitive and exemplary damages. See, Ex. A, Compl.
10
     Prayer for Relief.
11

12                                II.    PROCEDURAL REQUIREMENTS

13           6. This notice is filed on behalf Defendants in the above-styled case pursuant to
14
     28 U.S.C.A. § 1446(b)(2)(A).
15

16           7. Concurrent with the filing of this Notice or promptly thereafter, Defendants
17   are serving this Notice of Removal on all other parties pursuant to 28 U.S.C.A. §
18
     1446(d).
19

20           8. Pursuant to 28 U.S.C.A. § 1446(a), copies of pleadings and documents from
21   the Superior Court for the County of Orange served upon or provided to Defendants are
22
     attached as follows:
23

24                      Exhibit Date of Filing      Description
25
                            A        October 26,    Summons and Complaint (SSLMI)
26
                                     2020
27

28
                                          3
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
       Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 4 of 17 Page ID #:4



 1                          B        October 26,        Summons and Complaint (Welltower
 2
                                     2020               Opco)
 3

 4

 5                      III. ARGUMENT AND CITATION TO AUTHORITY
 6
         A. Diversity Jurisdiction Under 28 U.S.C.A. § 1441(b) and 28 U.S.C.A. §
 7

 8           1332(a)

 9           9. This case is removable under 28 U.S.C.A. § 1441(b) and 28 U.S.C.A. § 1332
10
     (a) on the basis of diversity jurisdiction because the parties are citizens of different
11

12   States and the amount in controversy exceeds the sum or value of $75,000 exclusive of
13   interest and costs.
14
             10. Upon information and belief, all of the Plaintiffs - Ronald Garcia, Paul
15

16   Garcia, Gary Garcia, and decedent Gilbert Garcia (before his death) - are citizens of the
17   State of California.
18
             11. Defendant Sunrise Senior Living Management, Inc. is a corporation formed
19

20   under the laws of the Commonwealth of Virginia with its principal place of business
21   located in McLean, Virginia.
22
             12. Defendant Welltower Opco Group, LLC is a limited liability company
23

24   formed under the laws of the State of Delaware with its principal place of business
25
     located in Toledo, Ohio.                The sole member of Welltower Opco Group, LLC is
26
     Welltower TRS HoldCo., LLC, which is a limited liability company formed under the
27

28
                                          4
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
       Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 5 of 17 Page ID #:5



 1   laws of the State of Delaware with its principal place of business located in Toledo,
 2
     Ohio. The sole member of Welltower TRS HoldCo., LLC is Welltower, Inc., which is
 3

 4   a corporation formed under the laws of the State of Delaware with its principal place of

 5   business located in Toledo, Ohio.
 6
             13. The amount in controversy in this action exceeds $75,000. “The amount in
 7

 8   controversy is simply an estimate of the total amount in dispute, not a prospective

 9   assessment of defendant’s liability.” Lewis v. Verizon Comms., Inc., 627 F.3d 395, 400
10
     (9th Cir. 2010). “To establish the jurisdictional amount, [Defendants] need not concede
11

12   liability for the entire amount” Plaintiffs seek. Id. When determining the amount in

13   controversy, courts should first look to the complaint. See St. Paul Mercury Indem. Co.
14
     v. Red Cab Co., 303 U.S. 283, 289 (1938). Where the complaint “does not specify a
15

16   particular amount of damages, the removing defendant bears the burden of establishing,
17   by a preponderance of the evidence, that the amount in controversy exceeds $[75,000].”
18
     Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996). The burden
19

20   imposed by that standard “is not daunting, as courts recognize that … a removing
21   defendant is not obligated to research, state, and prove the plaintiff’s claims for
22
     damages.” Korn v. Polo Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1204-05 (E.D. Cal.
23

24   2008) (emphasis in original) (internal quotations omitted). “The burden, rather, is to
25   show what the plaintiff hopes to get out of the litigation; if this exceeds the jurisdictional
26
     amount, then the case proceeds in federal court unless a rule of law will keep the award
27

28
                                          5
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
       Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 6 of 17 Page ID #:6



 1   under the threshold.” Rising-Moore v. Red Roof Inns, Inc., 435 F. 3d 813, 816 (7th Cir.
 2
     2006) (emphasis added).
 3

 4           14. In this case, Plaintiffs plead three causes of action: Elder Abuse and Neglect,

 5   Wrongful Death, and Intentional Infliction of Emotional Distress. As described above,
 6
     Plaintiffs contend that Defendants engaged in negligent, willful and/or reckless conduct
 7

 8   in the care rendered to the decedent in relation to exposure, diagnosis, and treatment of

 9   COVID-19 and contends that, as a result, the decedent contracted COVID-19 and
10
     suffered from its symptoms including chills, fever, exhaustion, cough, and confusion
11

12   such that he needed to be hospitalized. See, Ex. A, Compl. ¶¶ 39, 40, 42, and 43.

13   Plaintiffs contend that the decedent remained in the hospital for 15 days before his
14
     passing and “suffered unjustifiable and substantial physical pain, mental suffering and
15

16   indignity” as well as death. See, Ex. A, Compl. ¶¶ 42, 46, 47, 64, and 67. For these
17   alleged injuries, Plaintiffs seek recovery in both compensatory and punitive damages.
18
     See, Ex. A, Compl. ¶¶ 64, 65, and Prayer for Relief. Moreover, Plaintiffs claim that,
19

20   prior to the decedent’s death, Plaintiffs “enjoyed the love, society, comfort and attention
21   of their loving father” and that, “[a]s a proximate result of the acts and omissions by all
22
     the DEFENDANTS, alleged supra, [they] sustained the loss of love, society, comfort,
23

24   and attention of their loving father” for which they seek general damages in addition to
25   special damages including funeral and burial expenses. See, Ex. A, Compl. ¶¶ 73-75.
26
     Additionally, Plaintiffs claim that Defendants’ purportedly wrongful conduct caused
27

28
                                          6
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
       Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 7 of 17 Page ID #:7



 1   Plaintiff Ronald Garcia to suffer severe emotional distress due to being exposed to a
 2
     COVID-19 infected individual for which he purportedly has incurred and will continue
 3

 4   to incur damages. See, Ex. A, Compl. ¶¶ 77-82.

 5           15. The Complaint seeks damages including but not limited to compensation for
 6
     pre-death pain and suffering pursuant to Welfare and Institutions Code section 15657,
 7

 8   general damages, special damages, attorney’s fees, punitive damages, and exemplary

 9   damages. See, Ex. A, Compl. Prayer for Relief. Given the allegations raised by
10
     Plaintiffs in their Complaint as well as the type and extent of the damages Plaintiffs
11

12   seek to recover, Defendants can in good faith estimate that the amount in controversy

13   exceeds $75,000 by a preponderance of the evidence. “[A] good faith estimate of the
14
     stakes is acceptable if it is plausible and supported by a preponderance of evidence.”
15

16   Oshana v. Coca-Cola Co., 472 F.3d 506, 511 (7th Cir. 2006) (emphasis added). See
17   also, Behrazfar v. Unisys Corp., 687 F. Supp. 2d 999, 1004 (C.D. Cal. 2009); accord
18
     Stolz v. Safeco Ins. Co. of Am., 798 Fed. App’x 52, 54 (9th Cir. 2019); Nasiri v. Allstate
19

20   Indem. Co., 41 Fed. Appx. 76, 78 (9th Cir. 2002). “In measuring the amount in
21   controversy, a court must assume that the allegations of the complaint are true and that
22
     a jury will return a verdict for the plaintiff on all claims made in the complaint.” Korn
23

24   v. Polo Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1205 (E.D. Cal. 2008) (citing
25   Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993, 1001
26
     (C.D. Cal. 2002)).
27

28
                                          7
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
       Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 8 of 17 Page ID #:8



 1           16. “Once the defendant in a removal case has established the requisite amount
 2
     in controversy, the plaintiff can defeat jurisdiction only if it appears to a legal certainty
 3

 4   that the claim is really for less than the jurisdictional amount.” Oshana v. Coca-Cola

 5   Co., 472 F.3d 506, 511 (7th Cir. 2006).
 6
         B. Federal Question Jurisdiction Under 28 U.S.C.A. § 1441(a)
 7

 8           17. In addition to and separate from diversity jurisdiction, this case is removable

 9   under 28 U.S.C.A. § 1441(a) on the basis of “original jurisdiction” because Plaintiffs’
10
     Complaint asserts a claim “arising under” federal law within the meaning of § 1331.
11

12           18. On its face, the allegations contained in the Complaint reflect that a “covered

13   person” was involved in “recommended activity” relative to a “covered
14
     countermeasure” and therefore presents a federal question under the Public Readiness
15

16   and Emergency Preparedness Act (PREP Act), 42 U.S.C.A. §§ 247d-6d, 247d-6e (West
17   2020).
18
             19. As such, Congress provided an exclusive remedy for the substance of the
19

20   allegations, and relief sought in the Complaint and Federal law expressly pre-empts
21   state law for purposes of federal question jurisdiction. See PREP Act, 42 U.S.C.A. §§
22
     247d-6d, 247d-6e (West 2020).
23

24           20. The issue of whether federal question jurisdiction exists when a Complaint
25   asserts a claim in state law is addressed in Beneficial Nat. Bank v. Anderson, 539 U.S.
26
     1 (2003). The Court explained:
27

28
                                          8
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
       Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 9 of 17 Page ID #:9



 1                    [A] state claim may be removed to federal court … when a federal
 2                    statute wholly displaces the state-law cause of action through
 3                    complete pre-emption. When the federal statute completely pre-
 4                    empts the state-law cause of action, a claim which comes within the
 5                    scope of that cause of action, even if pleaded in terms of state law, is
 6                    in reality based on federal law. In the two categories of cases where
 7                    this Court has found complete pre-emption … the federal statutes at
 8                    issue provided the exclusive cause of action for the claim asserted
 9                    and also set forth procedures and remedies governing that cause
10                    of action.
11
     Id. at 8 (emphasis supplied; internal citations and footnotes omitted).
12

13           21. There, the plaintiff brought an action for usury under state law, which was
14
     preempted by the usury provisions of the National Bank Act (12 U.S.C.A. §§ 85 and
15
     86). The Court held that the usury provisions under §§ 85 and 86 collectively “supersede
16

17   both the substantive and the remedial provisions of state usury laws and create a federal
18
     remedy for overcharges that is exclusive.” Beneficial Nat. Bank, supra, at 11. Therefore,
19
     the court held that federal question diversity was proper under the “complete
20

21   preemption” doctrine.
22
             22. Thus, Circuit Courts and District Courts have subsequently found “complete
23
     preemption” where a federal statute expressly preempts state law and creates an
24

25   exclusive federal remedy for preempted state claims. See, e.g., Fossen v. Blue Cross &
26
     Blue Shield of Montana, Inc., 660 F.3d 1102, 1107 (9th Cir. 2011); In re WTC Disaster
27
     Site, 414 F.3d 352, 380 (2d Cir. 2005); Spear Marketing, Inc. v. Bancorp South Bank,
28
                                          9
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
     Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 10 of 17 Page ID #:10



 1   791 F.3d 586 (5th Cir. 2015); Nott v. Aetna U.S. Healthcare, Inc., 303 F.Supp.2d 565
 2
     (E.D.Pa. 2004).
 3

 4           23. Here, as set forth below, Defendants assert that Plaintiff’s claims are

 5   completely preempted by the PREP Act sections found at 42 U.S.C.A. §§ 247d-6d and
 6
     247d-6e. See Bruesewitz v. Wyeth LLC, 562 U.S. 223, 253 (2011) (Sotomayor, J.,
 7

 8   dissenting) (The majority found that the National Childhood Vaccine Injury Act

 9   preempted state law. Justices Sotomayor and Ginsburg further analyzed that the PREP
10
     Act unequivocally demonstrated an intent to preempt state law through its use of
11

12   “categorical (e.g., ‘all’) and/or declarative language (e.g., ‘shall’)” completely

13   preempting state law).
14
             24. Under 42 U.S.C.A. § 247d-6d(a), a “covered person” is afforded broad
15

16   immunity for all “claims for loss arising out of, relating to, or resulting from” the
17   "administration" or "use" of a "covered countermeasure" as those terms are defined by
18
     that section, provided the Secretary of the Department of Health and Human Services
19

20   (HHS) issues a declaration to that effect.
21           25. For all claims barred by immunity under 42 U.S.C.A. § 247d-6d that do not
22
     assert “willful misconduct,” the exclusive remedy for relief is established under § 247d-
23

24   6e, which permits an individual to make a claim for benefits through the
25   Countermeasures Injury Compensation Program, also known as the Fund, for a
26
     “covered injury directly caused by the administration or use of a covered
27

28
                                          10
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
     Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 11 of 17 Page ID #:11



 1   countermeasure.” In fact, and for purposes of illustrating Congress's intent to address
 2
     all claims, even a claimant alleging “willful misconduct” must first apply for benefits
 3

 4   through the Fund under § 247d-6e before bringing an action under § 247d-6d(d). Id. §

 5   247d-6e(d)(1). Further, even where a plaintiff has alleged willful misconduct and
 6
     exhausted his remedies relative to the Fund, such plaintiff is limited to “an exclusive
 7

 8   Federal cause of action” for willful misconduct “maintained only in the United States

 9   District Court for the District of Columbia.” 42 U.S.C.A. § 247d-6d9(d)(1)-(e)(1)
10
     (emphasis added).
11

12           26. Moreover, under 42 U.S.C.A. § 247d-6d(b)(8), state law that “is different

13   from, or in conflict with, any requirement applicable [for immunity]” is expressly
14
     preempted.
15

16           27. Therefore, Congress has clearly manifested the intent to preempt state law
17   with respect to claims that invoke PREP Act immunity and to create an exclusive federal
18
     remedy for such preempted claims, thereby “completely preempting” state law for
19

20   purposes of federal question jurisdiction. See Bruesewitz, 562 U.S. at 253 (Sotomayor,
21   J., dissenting).
22
             28. Here, as alleged in the Complaint, Defendants are “covered persons” in that
23

24   Defendants' Facility, Sunrise Villa Bradford, is a residential care facility for the elderly
25   licensed by the State of California. Further, Defendants' Facility, as well as its'
26
     employees and affiliates are "covered persons" because each meet the requirements of
27

28
                                          11
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
     Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 12 of 17 Page ID #:12



 1   a "program planner" of countermeasures under the PREP Act and are "qualified persons
 2
     who prescribed, administered or dispensed" a countermeasure under the PREP Act.
 3

 4   This was recently confirmed by the Office of the General Counsel, Secretary of the

 5   Department of Health and Human Services in an opinion letter dated August 14, 2020,
 6
     stating that senior living communities, such as those operated by Defendants, are
 7

 8   “covered persons,” entitled to immunity under the PREP Act by virtue of their status as

 9   both “program planners” and “qualified persons.”
10
             29. Plaintiffs’ claim for loss "arises out of, relates to, or results from" the
11

12   administration and use of a “covered countermeasure” obtained through a "means of

13   distribution," to a "population," and within a "geographic area," or reasonably believed
14
     so by Defendants, for the purpose of treating, diagnosing, curing, preventing, or
15

16   mitigating COVID-19, or the transmission of SARS-CoV-2 or a virus mutating
17   therefrom, as such terms are defined within the PREP Act, 42 U.S.C.A. §§ 247d-6d,
18
     247d-6e (West 2020), the Declaration Under the Public Readiness and Emergency
19

20   Preparedness Act for Medical Countermeasures Against COVID-19, 85 Fed. Reg.
21   15198 (Mar. 17, 2020), amended by 85 Fed. Reg. 21012 (Apr. 15, 2020), and all
22
     corresponding amendments, regulations, and interpretational case law.
23

24           30. At the time of the allegations set forth in the Complaint, and based on such
25   allegations, Defendants were acting as "program planners" that supervised the infection
26
     control policy program, under which FDA approved personal protective equipment
27

28
                                          12
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
     Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 13 of 17 Page ID #:13



 1   including, without limitation, N95 respirators, face shields, and gowns as well as
 2
     diagnostic countermeasures were distributed and administered to the decedent and the
 3

 4   staff of Sunrise Villa Bradford in an effort to diagnose, mitigate, and prevent COVID-

 5   19, or the transmission of SARS-CoV-2 or a virus mutating therefrom. Further,
 6
     Defendants' employees and affiliates were acting as employees of a "program planner"
 7

 8   that supervised and administered the infection control program that provided and used

 9   FDA approved countermeasures on the decedent and the staff of Sunrise Villa Bradford
10
     in an effort to diagnose and mitigate COVID-19, or the transmission of SARS-CoV-2
11

12   or a virus mutating therefrom.

13           31. At the time of the allegations set forth in the Complaint, and based on such
14
     allegations, Defendants' employees and affiliates were acting as "qualified persons"
15

16   because Defendants' employees were authorized to administer, deliver, and use FDA
17   covered countermeasures, like personal protective equipment and FDA approved
18
     COVID-19 devices, medication, and diagnostic tests to diagnose and prevent COVID-
19

20   19, or the transmission of SARS-CoV-2 or a virus mutating therefrom.
21           32. At the time of the allegations set forth in the Complaint, and based on such
22
     allegations, Defendants were engaged in the management and operation of
23

24   countermeasure programs in an effort to diagnose and prevent COVID-19, or the
25   transmission of SARS-CoV-2 or a virus mutating therefrom to a "population" and
26
     within a "geographic area" specified by the Declaration Under the Public Readiness and
27

28
                                          13
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
     Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 14 of 17 Page ID #:14



 1   Emergency Preparedness Act for Medical Countermeasures Against COVID-19, 85
 2
     Fed. Reg. 15198 (Mar. 17, 2020), and all amendments thereto (“Declaration”), or
 3

 4   reasonably believed so by Defendants. Likewise, Defendants' employees and affiliates

 5   were physically providing the countermeasures to the decedent and using the
 6
     countermeasures in an effort to diagnose and prevent COVID-19, or the transmission
 7

 8   of SARS-CoV-2 or a virus mutating therefrom to a "population" and within a

 9   "geographic area" specified by the Declaration, and all amendments thereto, or
10
     reasonably believed so by Defendants. In fact, HHS confirmed in letter dated August
11

12   31, 2020 that diagnostic testing for COVID-19 in senior living communities qualifies

13   as a “covered countermeasure” triggering PREP Act immunity.
14
             33. At the time of the allegations set forth in the Complaint, the respirators and
15

16   face shields used by Defendants were approved by the FDA as a qualified pandemic or
17   epidemic product and were respiratory protective devices approved by the National
18
     Institute for Occupational Safety and Health under 42 CFR part 84, and were
19

20   administered, delivered, distributed, and dispensed in accordance with the public health
21   and medical response of the State of California or reasonably believed so by
22
     Defendants, and Plaintiffs’ claim for loss "arises out of, relates to, or results from" the
23

24   administration and use of such “covered countermeasures."
25           34. Therefore, Plaintiffs’ Complaint invokes a federal question for which the
26
     governing federal law “completely preempts” Plaintiffs’ state law claims, and removal
27

28
                                          14
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
     Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 15 of 17 Page ID #:15



 1   is proper under 28 U.S.C.A. § 1441(a).
 2
             35. Finally, federal question jurisdiction also exists because there is a substantial,
 3

 4   embedded question of federal law. See Grable & Sons Metal Prods. v. Darue Eng'g &

 5   Mfg., 545 U.S. 308 (2005). In Grable, the Supreme Court set forth a two-step process
 6
     for determining whether a state law claim “arises under” federal law. First, the state
 7

 8   law claim must necessarily raise a stated federal issue, actually disputed and substantial.

 9   Second, federal courts must be able to entertain the state law claims “without disturbing
10
     a congressionally approved balance of state and federal judicial responsibilities.” Id.
11

12           36. Here, the first prong is met because Plaintiffs’ Petition alleges Defendants’

13   ineffective use and administration of covered countermeasures in preventing the spread
14
     of COVID-19. By their nature, these allegations invoke a substantial federal question
15

16   as to whether the broad immunities afforded under the PREP Act apply to the conduct
17   of Defendants, and a federal court has a substantial interest in determining the
18
     application of the PREP Act given the widespread and pervasive nature of the COVID-
19

20   19 pandemic.
21          37. The second prong is also met because this Court would not “disturb any
22
     congressionally approved balance of federal and state judicial responsibilities” retaining
23

24   jurisdiction in this matter. On the contrary, the PREP Act expresses a clear intention to
25   supersede and preempt state control of the very issues raised by Plaintiffs: “No State . .
26
     . may establish, enforce, or continue in effect with respect to a covered countermeasure
27

28
                                          15
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
     Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 16 of 17 Page ID #:16



 1   any provision of law or legal requirement that . . . (A) is different from, or is in conflict
 2
     with, any requirement applicable under this section; and (B) relates to the . . . use, . . .
 3

 4   dispensing, or administration by qualified persons of the covered countermeasure” 42

 5   U.S.C. § 247d-6d [b] [8]. As such, this Court would not be disturbing or otherwise
 6
     infringing on any balance of state and federal interest by retaining jurisdiction
 7

 8          WHEREFORE, having shown that this case is properly removable on the basis

 9   of diversity jurisdiction as well as federal question jurisdiction, Defendants provide
10
     notice pursuant to 28 U.S.C.A. § 1446 that the Action pending in Superior Court for the
11

12   County of Orange, California, Case No. 20STCV25558, is removed to the United States

13   District Court for the Central District of California, and respectfully request that this
14
     Court exercise jurisdiction over this case.
15

16   Respectfully submitted this 27th day of November, 2020.
17                                                       Respectfully submitted,
18                                                       CLARK HILL LLP
19

20                                                  By: /s/Michael P. West
21                                                    Michael P. West
                                                      Ashley A. Escudero
22                                                    CLARK HILL LLP
                                                      One America Plaza
23                                                    600 West Broadway, Suite 500
                                                      San Diego, CA 92101
24                                                    Telephone: (619) 557-0404
                                                      Facsimile: (619) 557-0460
25                                                    mwest@clarkhill.com
                                                      aescudero@clarkhill.com
26                                                    Attorneys for Defendants
                                                      Welltower OpCo Group LLC and
27
                                                      Sunrise Senior Living Management, Inc.
28
                                          16
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
                         OPCO GROUP, LLC NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
     Case 2:20-cv-10803 Document 1 Filed 11/27/20 Page 17 of 17 Page ID #:17



 1                                       CERTIFICATE OF SERVICE
 2
            I hereby certify that on this 27th day of November, 2020, I will electronically file
 3
     the foregoing with the Clerk of the Court using the CM/ECF system, which will then
 4

 5   be sent Electronically to the registered participants as identified on the Notice of
 6
     Electronic Filing (NEF) and paper copies will be sent by first class mail to any counsel
 7
     of record indicated as non-registered participants.
 8

 9
     Dated: November 27, 2020                         /s/ Michael P. West
10
                                                      Michael P. West
11                                                    Attorneys for Defendants,
                                                      Welltower OpCo Group, LLC
12                                                    and Sunrise Senior Living
13                                                    Management, Inc.

14   Attorney for Plaintiffs:
15
     Ayman R. Mourad, Esq.
16   Alexander N. Rynerson, Esq.
     LANZONE MORGAN LLC
17   5001 Airport Plaza Dr., Suite 210
18   Long Beach, CA 90815
     Tel: (562) 596-1700
19   Fax: (562) 596-0011
     Email: eservice@lanzonemorgan.com
20
     Email: arm@lanzonemorgan.com
21   Email: asr@lanzonemorgan.com
22

23

24

25

26

27

28
                                            17
          DEFENDANTS SUNRISE SENIOR LIVING MANAGEMENT, INC., AND WELLTOWER
            OPCO GROUP, LLC dba SUNRISE VILLA BRADFORD’S NOTICE OF REMOVAL
     ClarkHill\61560\416158\261364759.v1-11/27/20
